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UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


UNITED STATES,

              Plaintiff,
                                                       Case No. 13-20515
vs.                                                    HON. GERSHWIN A. DRAIN


MANUEL DEJARANO,

           Defendant.
_____________________________/

        ORDER GRANTING DEFENDANT’S MOTION FOR DISCLOSURE OF ALL
       STATEMENTS WHICH THE GOVERNMENT WILL SEEK TO ATTRIBUTE TO
     DEFENDANT [#26] AND GRANTING DEFENDANT’S MOTION FOR DISCLOSURE
     OF BRADY AND/OR IMPEACHMENT MATERIALS RELATING TO GOVERNMENT
                             WITNESSES [#27]

I.      INTRODUCTION

        On July 11, 2013, Defendant, Manuel Antonio Dejarano, was charged by Indictment

with Conspiracy to Distribute Controlled Substance (Cocaine), 21 U.S.C. §§ 846 and 841(a),

and Conspiracy to Distribute Controlled Substance (Heroin). Id. Presently before the Court

is Defendant’s Motions for Disclosure of All Statements which the Government will Seek to

Attribute to Defendant [#26] and for Disclosure of Brady and/or Impeachment Materials

Relating to Government Witnesses [#27], both filed on October 21, 2013. No Responses

have been filed.1 The hearing set for November 20, 2013 is cancelled. See E.D. Mich. L.R.

7.1(f)(2). For the reasons set out below, the Court GRANTS Defendant’s Motions.




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         Responses were due no later than November 5, 2013. See E.D. Mich. L. Cr. R.
        12.1(a), E.D. Mich. L.R. 7.1(e)(2)(B).

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II.    FACTUAL BACKGROUND

       The Indictment alleges that Defendant conspired with Jesus Verduzco (“Verduzco”)

and Miguel Vergara (“Vergara”) to distribute cocaine from March 2013 until June 2013. The

Indictment additionally alleges that Defendant conspired with Miguel Yescas (“Miguel”) and

Irma Yescas (“Irma”) to distribute heroin in May 2013.

       The Government has provided voluminous discovery materials to Defendant, including

reports of witness interviews, text messages, and telephone calls between cooperating

sources and Defendant. Defendant believes that the cooperating sources have been induced

to cooperate with the Government in exchange for not being prosecuted in the instant case.

       Additionally, Defendant is aware that the Government has interviewed a number of

cooperating unindicted co-conspirators or confidential sources in this matter. Defendant

seeks disclosure of the substance of the statements and which statements the Government

intends to admit against Defendant at trial.

III.   LEGAL ANALYSIS

       A.     Disclosure of All Statements

              1. Standard of Review

       Under the Federal Rules of Evidence, statements of other parties may be admitted

against a defendant when certain conditions are met. FED. R. EVID. 801(d)(2) states:

       A statement is not hearsay if
                      *                       *                   *
              (2) Admission by party-opponent. The statement is offered against a party
              and is (A) the party’s own statement in either an individual or a representative
              capacity or (B) a statement of which the party has manifested an adoption of
              belief in truth, or (c) a statement by a person authorized by the party to make
              a statement concerning the subject, or (D) a statement by the party’s agent or
              servant concerning a matter within the scope of the agency or employment,
              made during the existence of the relationship, or (E) a statement by a
              coconspirator of a party during the course and in furtherance of the

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              conspiracy...

FED. R. EVID. 801(d)(2) permits the statements of a defendant’s representatives, agents, or

co-conspirators to be introduced against him in court. However, if the government intends to

introduce any such statements, they should first be properly disclosed under FED. R. CRIM.

P. 16(a)(1)(A), which states:

       (A) Defendant’s Oral Statement. Upon a defendant’s request, the government must
       disclose to the defendant the substance of any relevant oral statement made by the
       defendant, before or after arrest, in response to interrogation by a person the
       defendant knew was a government agent if the government intends to use the
       statement at trial.

It is not necessary that the disclosed statements be in the exact words of the declarant, they

may, for example, be in a memorandum of an interview with a prosecutor or government

agent. United States v. Reid, 43 F.R.D. 520 (N.D. Il. 1967). If the statements are contained

in an otherwise undiscoverable internal government report or memorandum, the privileged

or irrelevant matter should be excised and the statement produced. See United States v.

Garrett 305 F. Supp. 267 (S.D.N.Y. 1969).

              2.      Defendant’s Argument

       Defendant requests that the Court order pretrial disclosure of all statements the

Government will seek to attribute to Defendant at trial, so that the parties may litigate issues

of admissibility well in advance of trial. Defendant argues that any party-opponent information

the Government plans on introducing at trial should first be provided to Defendant via

discovery, pursuant to FED. R. EVID. 801(d)(2) and FED. R. CRIM. P. 16(a)(1)(A).

Furthermore, Defendant maintains that without full disclosure of all Defendant’s prior

statements, whether in person or vicariously through other persons, Defendant will not be

able to make an informed decision as to how he will exercise his various constitutional rights


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and permissible options in connection with these proceedings. See Poe v. U.S., 233 F. Supp.

173, 176 (D.C. Cir. 1964) (Defense counsel’s lack of prior knowledge as to the impermissible

statements introduced by the prosecution caused counsel to misinform his client, who was

subsequently found to be guilty).

       The Government did not submit a Response to refute Defendant’s allegations.

Defendant has provided sufficient evidence to support the conclusion that the Government

should disclose all statements which it intends to attribute to Defendant.

       B.     Disclosure of Brady and/or Impeachment Materials

              1.      Standard of Review

       Brady v. Maryland, 373 U.S. 83 (1963), requires that the prosecution turn over to the

defense any exculpatory evidence in its possession or control. United States v. Jordan, 316

F.3d 1215, 1226 n. 15 (11th Cir. 2003). The Supreme Court has made it clear that there is

no distinction between exculpatory evidence and impeachment evidence for Brady purposes,

as both are evidence favorable to the accused and must be disclosed. Schledwitz v. United

States, 169 F.3d 1003, 1015 (6th Cir. 1999), United States v. Mullins, 22 F.3d 1365, 1372

(6th Cir. 1994). In concert with Brady, Giglio v. United States, 405 U.S. 150 (1972), requires

the prosecution to “turn over to the defense evidence in its possession or control which could

impeach the credibility of an important prosecution witness.” Jordan, 316 F.3d at 1226 n. 16.

       In order for Defendant to establish a Brady violation, he must show that “the

prosecutor suppressed evidence; that such evidence was favorable to the defense; and that

the suppressed evidence was material.” Carter v. Bell, 218 F.3d 581, 601 (6th Cir. 2000).

There is no Brady violation where the defendant “knew or should have known the essential

facts permitting him to take advantage of the information in question, or if the information was

available to him from another source. Id. at 601.

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              2.     Defendant’s Argument

       Defendant believes that cooperating sources have been induced to cooperate with the

Government in exchange for not being prosecuted in the instant case. Therefore, Defendant

requests the Government provide copies of: (a) Kastigar Letters/Immunity Agreements, (b)

AUSA offers of immunity or non-prosecution, (c) Pretrial Diversion Offers and/or Agreements,

(d) Rule 11 Plea Agreements, (e) Records of any payments made to any potential witnesses,

including grand jury appearance fees, and (f) prior conviction records regarding all potential

Government witnesses. Defendant argues that the Government has not fulfilled its obligation

to turn over the requested evidence in its possession that is favorable to the Defendant and

material to guilt or punishment. The Government has not filed a Response in opposition. The

Government’s refusal to produce material evidence that Defendant does not have reasonable

means to obtain elsewhere is a violation of the Brady rule.

IV.    CONCLUSION

       IT IS ORDERED that the Defendant’s Motion for Disclosure of all Statements which

the Government will Seek to Attribute to Defendant [#25] is GRANTED.

       IT IS FURTHER ORDERED that Defendant’s Motion for Disclosure of Brady adn/or

Impeachment Materials Relating to Government Witnesses [#27] is GRANTED.

       SO ORDERED.

Dated: November 18, 2013                                 /s/Gershwin A Drain
                                                         GERSHWIN A. DRAIN
                                                         UNITED STATES DISTRICT JUDGE




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                           CERTIFICATE OF SERVICE

            Copies of this Order were served upon attorneys of record on
              November 18, 2013, by electronic and/or ordinary mail.

                                /s/ Tanya Bankston
                                    Deputy Clerk




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